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                 IN THE UNITED STATES DISTRICT COURT
                FOR THE NORTHERN DISTRICT OF ILLINOIS
                           EASTERN DIVISION

MILLENNIUM PHARMACEUTICALS,            )
INC.,                                  )
                                       )
                 Plaintiff,            )
                                       )
     v.                                )     No.    13 C 8240
                                       )
APOTEX CORP., et al.,                  )
                                       )
                 Defendants.           )

                             MEMORANDUM ORDER

     On November 19, 2013 this Court issued a sua sponte

memorandum order (“Order”) questioning the appropriateness of the

choice of forum selected by Millennium Pharmaceuticals, Inc.

(“Millennium”) in its patent infringement Complaint against

Apotex Corp. and Apotex, Inc. (collectively “Apotex,” treated as

a singular noun purely as a matter of convenience).               Although the

Order designated November 27 as the due date for Millennium’s

response, that date came and went without the arrival of any

response in this Court’s chambers.          Both because of the

Thanksgiving holiday and to allow for the time designated in this

District Court’s LR 5.2(f) for the delivery of a paper copy of

all court filings to the chambers of District Judges who prefer

to work with hard copies, this Court simply held off on the

matter until December 3, at which point it had its courtroom

deputy check the docket.

     That follow-up inquiry revealed that Millennium had indeed

filed a statement on November 27, although its counsel did not
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comply with LR 5.2(f).       Under that LR it is each judge’s choice

as to the maintenance vel non of in-chambers paper files, so that

counsel has to check each judge’s website when determining

whether electronic filing alone is enough.            This Court’s website

has made it plain that noncompliance by counsel results in the

imposition of a $100 fine, which this Court has set as the price

to pay for the most common noncompliance (nondelivery of a copy

of a newly-filed complaint).        Consistently with that policy,

Millennium is ordered to deliver promptly to this Court’s

chambers a check for $100 payable to the Clerk of Court.

     That, however, is a digression that should not obscure this

Court’s appreciation for the thoughtfulness of the statement that

Millennium has provided.       It is clear from that statement that

the filing of this action in this forum was expressly authorized

by Apotex, so that no consideration should be given to a sua

sponte transfer under 28 U.S.C. §1404(a)(“Section 1404(a)”).                    As

for a possible party-initiated Section 1404(a) motion to

transfer, see this week’s Supreme Court decision in Atl. Marine

Constr. Co. v. United States Dist. Ct., No. 19-929 (Dec. 3,

2013).   Millennium’s further explanation as to the interchange

between its counsel and Apotex’ counsel makes it clear that this

Court should simply hold off until Apotex clarifies its position

as to either challenging or consenting to jurisdiction and venue

in Delaware.    For that purpose this Court sets a status hearing


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to be held at 9:15 a.m. December 13, 2013.



                              ________________________________________
                              Milton I. Shadur
                              Senior United States District Judge

Date:   December 5, 2013




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